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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

 KRISTINA MARTINEZ, in her Capacity
 as the Personal Representative of the Wrongful Death
 Estate of BARBARA GRANGER, and SCOTT
 GRANGER, individually,

                Plaintiffs,

 vs.
                                                              Case No. 19-cv-00994-CG-LF
 DART TRANS, INC., GILBERT TAN d/b/a GMT
 TRUCKING, SUNRISE TIRE AND LUBE
 SERVICE, INC., HAR-SUKH CORP., INC., SAM
 SANDHU, JASVIR SINGH, RAJINDER SINGH
 BASSI, SUKHDEV SINGH DHALIWAL,
 TERI-OAT, LLC, JOHN DOE 1, JOHN DOE 2,
 GOODWILL TRUCKING, LLC, and GURPREET
 SUCH,

                Defendants.


                                 ENTRY OF APPEARANCE

       COMES NOW Peifer, Hanson & Mullins, P.A. (Mark T. Baker and Elizabeth K.

Radosevich), and hereby enters its appearance as counsel of record on behalf of Plaintiffs

Kristina Martinez, in her Capacity as the Personal Representative of the Wrongful Death Estate

of Barbara Granger, and Scott Granger in this matter.

                                             Respectfully submitted,

                                             PEIFER, HANSON & MULLINS, P.A.

                                             By: /s/ Mark T. Baker
                                                   Mark T. Baker
                                                   Elizabeth K. Radosevich
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                                             Attorneys for Plaintiffs
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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 28th day of October, 2019, the foregoing was filed

electronically pursuant to CM/ECF procedures for the District of New Mexico, which caused counsel

of record to be served by electronic means, as more fully reflected on the Notice of Electronic Filing:


                                               PEIFER, HANSON & MULLINS, P.A.

                                               By: /s/ Mark T. Baker
                                                       Mark T. Baker




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